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                                        Affidavit                        FIE
 1                                                                      JUL 25 2022
 2
     This is evidence on file for case #3 :22-cr-00036             NORTHo,si-R,g?6�1cT,ALCOURT
                                                                    CLERK US
                                                                                         IFOR
 3
                                                                                    c
                                                                                            NIA

 4
     These are affidavits of truth from happy and healthy patients and community members
 5
     regarding my character. This is the second round of character reference letters. 20
 6
     Letters were previously submitted. Enclosed here are 22 more letters.
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,:   Dr. Juli M%                                                     Date
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